         Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 1 of 40



                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                     §
                                                           §
HOU-TEX BUILDERS, LLC, et al., 1                           §                        Case No. 18-34658
                                                           §                            Chapter 11
                             DEBTORS.                      §                      (Jointly Administered)
                                                           §


    GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES REGARDING
    THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS
                         OF FINANCIAL AFFAIRS

        These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’ Schedules of Assets
and Liabilities and Statements of Financial Affairs (the “Global Notes”) pertain to, are incorporated by
reference in, and comprise an integral part of all of the Debtors’ Schedules and Statements. The
Global Notes should be referred to, considered, and reviewed in conjunction with any review of the
Schedules and Statements.

        The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor are
they intended to be fully reconciled with the financial statements of the Debtors. Additionally, the
Schedules and Statements contain unaudited information that is subject to further review,
potential adjustment, and reflect the Debtors’ commercially reasonable efforts to report the assets
and liabilities of the Debtors on an unconsolidated basis.

        The Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein and shall not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating or
delivering the information contained herein. While commercially reasonable efforts have been made
to provide accurate and complete information herein, inadvertent errors or omissions may exist. The
Debtors and their agents, attorneys and financial advisors expressly do not undertake any obligation
to update, modify, revise, or re-categorize the information provided herein, or to notify any third
party should the information be updated, modified, revised, or re-categorized. In no event shall the
Debtors or their agents, attorneys and financial advisors be liable to any third party for any direct,
indirect, incidental, consequential, or special damages (including, but not limited to, damages arising
from the disallowance of a potential claim against the Debtors or damages to business reputation,
lost business or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, and financial advisors are advised of the possibility of such damages.


1        The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and 415 Shadywood, LLC
         (7627).

                                                             1
        Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 2 of 40



Causes of Action. Despite its commercially reasonable efforts to identify all known assets, the
Debtors may not have listed all of its causes of action or potential causes of action against third-
parties as assets in the Schedules and Statements, including, without limitation, causes of actions
arising under the provisions of chapter 5 of the Bankruptcy Code and any other relevant non-
bankruptcy laws to recover assets or avoid transfers. The Debtors reserve all of their rights with
respect to any cause of action (including avoidance actions), controversy, right of setoff, cross claim,
counterclaim, or recoupment and any claim on contracts or for breaches of duties imposed by law or
in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage,
judgment, account, defense, power, privilege, license, and franchise of any kind or character
whatsoever, known, unknown, fixed or contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable
directly or derivatively, whether arising before, on, or after the Petition Date, in contract or in tort,
in law or in equity, or pursuant to any other theory of law (collectively, “Causes of Action”) it may
have, and neither these Global Notes nor the Schedules and Statements shall be deemed a waiver of
any claims or Causes of Action or in any way prejudice or impair the assertion of such claims or
Causes of Action.

Summary of Significant Reporting Policies. The following is a summary of significant reporting
policies:

•       Undetermined Amounts. The description of an amount as “unknown,” “TBD” or
        “undetermined” is not intended to reflect upon the materiality of such amount.

•       Totals. All totals that are included in the Schedules and Statements represent totals of all
        known amounts. To the extent there are unknown or undetermined amounts, the actual total
        may be different than the listed total.

•       Paid Claims. To the extent the Debtors pay any of Claims listed in the Schedules and
        Statements pursuant to any orders entered by the Bankruptcy Court, the Debtors reserve all
        of their rights to amend or supplement the Schedules and Statements or take other action as
        is necessary or appropriate to avoid over-payment of or duplicate payments for any such
        liabilities.

                  Specific Disclosures with Respect to the Debtors’ Schedules

Schedules Summary. Except as otherwise noted, the asset information provided in the Schedules
represents the Debtors’ data regarding their assets as of August 23, 2018 (the “Petition Date”), and
the liability information provided herein represents the Debtors’ data regarding its liabilities as of the
close of business on the Petition Date.

Schedule A/B.55.1/ Schedule D. The Debtors lists the value of their properties and collateral
based on the purchase prices in pending sales contacts. The values of the properties may differ
from these amounts.

Schedule G. The Debtors hereby expressly reserve the right to assert that any instrument listed on
Schedule G is not an executory contract within the meaning of section 365 of the Bankruptcy Code.
The Debtors reserve all of their rights, claims, and causes of action with respect to claims associated
with any contracts and agreements listed on the Schedules, including their right to dispute or

                                                     2
       Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 3 of 40



challenge the characterization or the structure of any transaction, document, or instrument
(including any intercompany agreement) related to a creditor’s claim.




                                              3
                        Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 4 of 40
  Fill in this information to identify the case:

                      2203 Looscan Lane LLC
  Debtor name __________________________________________________


                                        Southern                             Texas
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
  Case number (If known):       18-34660
                              _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   _      No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
   _      Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit                                                                                $______________________
   7.1. __Reliant Energy (utility deposit - account number 73573736-3___________________________________________                       95.00
                                                                                                                                   $_______________________




  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
                       Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 5 of 40
Debtor
                     2203 Looscan Lane LLC
               ___________________________________                                           18-34660
                                                                     Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.                                                                                                                  95.00
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

    _ No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    _ No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
                       Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 6 of 40
Debtor              2203 Looscan Lane LLC
                _______________________________________                                18-34660
                                                               Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last     Net book value of     Valuation method used     Current value of
                                                    physical inventory   debtor's interest     for current value         debtor’s interest
                                                                         (Where available)
19. Raw materials
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                     $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                Net book value of     Valuation method used     Current value of debtor’s
                                                                         debtor's interest     for current value         interest
                                                                         (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________         $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________         $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________         $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________         $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________         $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                          page 3
                       Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 7 of 40
Debtor           2203 Looscan Lane LLC
               ______________________________________                                 18-34660
                                                              Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
                        Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 8 of 40
 Debtor
                 2203 Looscan Lane LLC
                _______________________________________                                18-34660
                                                                Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________    ____________________    $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
                        Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 9 of 40
Debtor          _______________________________________
                  2203 Looscan Lane LLC
                Name
                                                                                        18-34660
                                                                Case number (if known)_____________________________________




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
                                                           _100% owner_______ $_______________                                2778750.00
                                                                                                       ____________________ $_______________
    55.1_2203 Looscan Lane Houston, TX 77019_______

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                               2778750.00
                                                                                                                                $____________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
                        Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 10 of 40
Debtor           _______________________________________
                   2203 Looscan Lane LLC
                 Name
                                                                                        18-34660
                                                                Case number (if known)_____________________________________




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
            No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)

    ______________________________________________________
                                                                    _______________     –   __________________________         =   $_____________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________

78. Total of Part 11.
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
                          Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 11 of 40
Debtor            _____________________________________
                    2203 Looscan Lane LLC                                               18-34660
                                                                 Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $________0_______

                                                                                                                 95.00
                                                                                                         $_______________
81. Deposits and prepayments. Copy line 9, Part 2.


82. Accounts receivable. Copy line 12, Part 3.                                                           $________0_______


83. Investments. Copy line 17, Part 4.                                                                   $________0______


84. Inventory. Copy line 23, Part 5.                                                                     $________0_______


85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $_________0______

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                         $_________0______
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_________0______

                                                                                                                                                   2778750.00
88. Real property. Copy line 56, Part 9. . .....................................................................................               $________________


89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_________0______


90. All other assets. Copy line 78, Part 11.                                                        +    $_________0______

                                                                                                              95.00
                                                                                                         $_______________                          2778750.00
                                                                                                                                                $___
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                                                +   91b.




                                                                                                                                                                       2778845.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................     $__________________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                page 8
                          Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 12 of 40
  Fill in this information to identify the case:
                    2203 Looscan Lane LLC
  Debtor name __________________________________________________________________
                                               Southern
  United States Bankruptcy Court for the: ______________________ District of _________   Texas
                                                                                        (State)

  Case number (If known):       18-34660
                               _________________________
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing
  Official Form 206D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
  Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    _ Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                              Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
2.1 Creditor’s name                             Describe debtor’s property that is subject to a lien
      Communitybank  of Texas NA
     __________________________________________   2203 Looscan Lane, Houston, TX 77019                                                                  2778750.00
                                                                                                                       2643895.00
                                                                ___________________________________________________ $__________________               $_________________

    Creditor’s mailing address                                  ___________________________________________________
       5999 Delaware Stree                                      ___________________________________________________
     ________________________________________________________
       Beaumont, TX 77706
     ________________________________________________________   Describe the lien
                                                                    Promissory Note
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                _ No
                                                                 Yes
                                          8/29/14               Is anyone else liable on this claim?
    Date debt was incurred __________________
    Last 4 digits of account
                                                                 No
    number                       0366___ ___
                             ___ ___
                                                                _ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
    _ Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
               Communitybank of Texas NA - 1st
             ___________________________________
               Hmaidan & Hmaidan - 2nd
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
        Hmaidan & Hmaidan LLC                                                                                                   783000.00                2778750.00
     __________________________________________                   2203 Looscan Lane, Houston, TX 77019
                                                                ___________________________________________________ $__________________               $_________________

    Creditor’s mailing address                                  ___________________________________________________
           5606 Grand Masterpiece Court
     ________________________________________________________   ___________________________________________________
           Houston, TX 77041                                    Describe the lien
     ________________________________________________________
                                                                   Second deed of trust
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                _ No
                                                                 Yes
                              6/1/17
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                 No
    number
                                 n/a
                             ___ ___ ___ ___
                                                                _ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
    _ Yes. Have you already specified the relative               Unliquidated
             priority?                                          _ Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
        _    Yes. The relative priority of creditors is
                  specified on lines 2.1
                                      _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  3426895.00
                                                                                                                               $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                       1
                                                                                                                                                         page 1 of ___
                          Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 13 of 40
   Fill in this information to identify the case:
                     2203 Looscan Lane LLC
   Debtor           __________________________________________________________________

                                                  Southern
   United States Bankruptcy Court for the: ______________________ District of __________          Texas
                                                                                              (State)
   Case number         18-34660
                     ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    _ No. Go to Part 2.
     Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   7
                                                                                                                                                       page 1 of ___
                    Case   18-34658
                               Lane LLC Document                 40 Filed in TXSB on 09/07/18 Page 14 of 40
  Debtor
                  2203 Looscan
               _______________________________________________________
               Name
                                                                                                          18-34660
                                                                                   Case number (if known)_____________________________________


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                    50433.00
      Aldrete's Masonry LLC                                      Check all that apply.                                     $________________________________
    ____________________________________________________________
      8519 Forest Green Dr                                        Contingent
      Houston,  TX 77080
                                                                  Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred                 7/25/18
                                               ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ n/a
                                                   ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:        20000.27
                                                                           Check all that apply.                           $________________________________
      Alpine Cut Stone
    ____________________________________________________________
                                                                              Contingent
      4755 Alpine Road, Suite 150                                             Unliquidated
      Stafford, TX 77477
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred                  5/24/18
                                               ___________________         Is the claim subject to offset?
                                                   n/a ___ ___
                                                                              No
    Last 4 digits of account number            ___ ___                        Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:        30806.79
                                                                           Check all that apply.                           $________________________________
     BMC
    ____________________________________________________________
                                                                              Contingent
     16002 Tomball Pkwy                                                       Unliquidated
     Houston, TX 77086
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred               various
                                               ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ n/a
                                                   ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                  400.00
                                                                                                                           $________________________________
     Brothers II Concrete LLC
    ____________________________________________________________
                                                                 Check all that apply.
     2519 Woodgate St                                             Contingent
                                                                  Unliquidated
     Houston, TX 77039
    ____________________________________________________________  Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred                 06/07/18
                                               ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number                 n/a___ ___
                                               ___ ___                        Yes

3.5 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                    1515.00
      Chase Drywall                                              Check all that apply.                                     $________________________________
    ____________________________________________________________
      1585-B W Sam Houston Pkwy N                                 Contingent
      Houston, TX 77043
    ____________________________________________________________
                                                                  Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred                  various
                                               ___________________         Is the claim subject to offset?
                                                    n/a
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                      500.00
                                                                                                                           $________________________________
      EFH  Consulting  Engineers Inc
    ____________________________________________________________
                                                                 Check all that apply.
      2906 Carrollton St                                          Contingent
      Houston, TX 77023
    ____________________________________________________________
                                                                  Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred               various
                                               ___________________         Is the claim subject to offset?
                                                    n/a                       No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __   7
                                                                                                                                                       2 of ___
                         Case  18-34658     Document             40 Filed in TXSB on 09/07/18 Page 15 of 40
  Debtor
                        2203 Looscan Lane LLC
                 _______________________________________________________                                   18-34660
                                                                                   Case number (if known)_____________________________________
                 Name



 Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                                                                             119000.00
                                                                                                                       $________________________________
        Esmeralda Painting  Inc                                  Check all that apply.
     ___________________________________________________________  Contingent
        8605 Rannie Road
                                                                  Unliquidated
        Houston, TX 77080                                         Disputed
     ___________________________________________________________          Liquidated and neither contingent nor
     ___________________________________________________________           disputed

                                                                       Basis for the claim: ________________________

                                                    various            Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                          No
     Last 4 digits of account number          ___ n/a
                                                  ___ ___ ___             Yes


  8 Nonpriority creditor’s name and mailing address
3.__
                                                                       As of the petition filing date, the claim is:          1353.13
                                                                                                                       $________________________________
         Forja Designs LLC                                       Check all that apply.
     ___________________________________________________________
         6113 Milwee St, Suite A
                                                                  Contingent
                                                                  Unliquidated
         Houston, TX 77092                                        Disputed
     ___________________________________________________________

     ___________________________________________________________
                                                                       Basis for the claim: ________________________

     Date or dates debt was incurred               06/26/17
                                              ___________________      Is the claim subject to offset?
                                                  n/a                     No
     Last 4 digits of account number          ___ ___ ___ ___             Yes


  9 Nonpriority creditor’s name and mailing address
3.__
                                                                       As of the petition filing date, the claim is:        397.25
        Gainsborough Waste                                       Check all that apply.                                 $________________________________
     ___________________________________________________________
        Dept 2                                                    Contingent
        P O Box 4509-2                                            Unliquidated
     ___________________________________________________________  Disputed
        Houston, TX 77210-4509
     ___________________________________________________________
                                                                       Basis for the claim: ________________________
                                                   06/25/18            Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                   2678
                                                                          No
     Last 4 digits of account number          ___ ___ ___ ___             Yes


  10 Nonpriority creditor’s name and mailing address
3.__
                                                                       As of the petition filing date, the claim is:          47522.50
                                                                                                                       $________________________________
           High Performance Home Companies
     ___________________________________________________________
                                                                       Check all that apply.
           5438 Guhn Rd                                                   Contingent
           Houston, TX 77040                                              Unliquidated
     ___________________________________________________________          Disputed
     ___________________________________________________________
                                                                       Basis for the claim: ________________________

     Date or dates debt was incurred              12/30/17
                                              ___________________      Is the claim subject to offset?
                                                 n/a
                                                                          No
     Last 4 digits of account number          ___ ___ ___ ___             Yes



  11 Nonpriority creditor’s name and mailing address
3.__
                                                                       As of the petition filing date, the claim is:          3724.00
           L Hernandez Construction Inc                                Check all that apply.                           $________________________________
     ___________________________________________________________
           PO Box 2535                                                    Contingent
           Spring, TX 77383                                               Unliquidated
     ___________________________________________________________          Disputed
     ___________________________________________________________
                                                                       Basis for the claim: ________________________
                                                    6/10/18            Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                    n/a___ ___
                                                                          No
     Last 4 digits of account number          ___ ___                     Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                             page 3     7
                                                                                                                                                   __ of ___
                     Case   18-34658          Document 40 Filed in TXSB on 09/07/18 Page 16 of 40
                                                                                                18-34660
                   2203 Looscan Lane LLC
  Debtor         _______________________________________________________ Case number (if known)_____________________________________
                 Name



 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  12 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                                                                             12888.50
       Marchal/Stevenson Elevator Co Inc                         Check all that apply.                                $________________________________
     ___________________________________________________________  Contingent
       11050 W Little York, Bldg E
       Houston, TX 77041
                                                                  Unliquidated
                                                                         Disputed
     ___________________________________________________________         Liquidated and neither contingent nor
     ___________________________________________________________          disputed

                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred              1/20/18
                                              ___________________     Is the claim subject to offset?
                                                                         No
     Last 4 digits of account number          ___n/a
                                                  ___ ___ ___            Yes


  13 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:          21115.00
                                                                                                                      $________________________________
         Matt's Seamless Gutter Service                          Check all that apply.
     ___________________________________________________________
         6005 Milwee St., Suite 1006K                             Contingent
                                                                  Unliquidated
         Houston, TX 77092-6266                                   Disputed
     ___________________________________________________________

     ___________________________________________________________
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred              6/18/18
                                              ___________________     Is the claim subject to offset?
                                                    n/a___ ___
                                                                         No
     Last 4 digits of account number          ___ ___                    Yes


  14 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:          1750.00
                                                                 Check all that apply.                                $________________________________
      Medina's Plumbing
     ___________________________________________________________
      601 Mitchell Rd
                                                                  Contingent
                                                                  Unliquidated
      Houston, TX  77037
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred             1/12/18
                                              ___________________     Is the claim subject to offset?
                                                    n/a                  No
     Last 4 digits of account number          ___ ___ ___ ___            Yes

  15 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:        140.00
           Pablo Vargas                                               Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                         Contingent
                                                                         Unliquidated
     ___________________________________________________________         Disputed
     ___________________________________________________________
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________     Is the claim subject to offset?
                                                                         No
     Last 4 digits of account number          ___ ___ ___ ___            Yes



  16 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:
       Pedco Roofing Inc                                              Check all that apply.
                                                                                                                          30434.00
                                                                                                                      $________________________________
     ___________________________________________________________
       1426 Brittmoore                                                   Contingent
       Houston, TX 77043                                                 Unliquidated
     ___________________________________________________________         Disputed
     ___________________________________________________________
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred             various
                                              ___________________     Is the claim subject to offset?
                                                  n/a
                                                                         No
     Last 4 digits of account number          ___ ___ ___ ___            Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __    7
                                                                                                                                                  4 of ___
                    Case   18-34658          Document 40 Filed in TXSB on 09/07/18 Page 17 of 40
  Debtor
                 2203 Looscan Lane LLC
               _______________________________________________________                          18-34660
                                                                        Case number (if known)_____________________________________
               Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  17 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                  299.99
                                                                                                                    $________________________________
         Premier Technology Group
     ___________________________________________________________       Contingent
         8564 Katy Freeway, Suite 132                                  Unliquidated
         Houston, TX 77024                                             Disputed
     ___________________________________________________________       Liquidated and neither contingent nor
     ___________________________________________________________        disputed

                                                                    Basis for the claim: ________________________

                                                  6/25/18           Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                  n/a___ ___
                                                                       No
     Last 4 digits of account number         ___ ___                   Yes


  18 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:         400.00
                                                                 Check all that apply.                              $________________________________
       Pro-Surv
     ___________________________________________________________
       P O Box 1366                                               Contingent
       Friendswood, TX 77549
                                                                  Unliquidated
     ___________________________________________________________       Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred            6/26/17
                                             ___________________    Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number             n/a ___ ___
                                             ___ ___                   Yes


  19 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:             1378.00
                                                                 Check all that apply.                              $________________________________
        River Oaks Property Owners Inc
     ___________________________________________________________
        3923 San Felipe                                           Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
        Houston, TX 77027

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                                  various
                                             ___________________    Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___ n/a
                                                 ___ ___ ___           Yes

  20 Nonpriority creditor’s name and mailing address
3.__                                                                                                                       925.24
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
      Scholl Lumber
     ___________________________________________________________
      6202 N Houston Rosslyn                                           Contingent
      Houston, TX 77091
                                                                       Unliquidated
     ___________________________________________________________       Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________
                                                various
     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                n/a                    No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  21 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:          25393.30
                                                                 Check all that apply.                              $________________________________
       SE Construction Inc
     ___________________________________________________________
       225 Gonyo Ln, Suite 303                                    Contingent
       Richmond, TX 77469
                                                                  Unliquidated
     ___________________________________________________________       Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________
                                                 7/28/18
     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                 n/a                   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




                                                                                                                                                        7
   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 5__ of ___
                        Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 18 of 40
  Debtor               2203 Looscan Lane LLC
                 _______________________________________________________
                 Name
                                                                                         18-34660
                                                                 Case number (if known)_____________________________________



 Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  22 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:            55633.00
        Tax Assessor - Collector                                 Check all that apply.                                $________________________________
     ___________________________________________________________  Contingent
        P O Box 4622
                                                                  Unliquidated
        Houston, TX 77210-4622                                    Disputed
     ___________________________________________________________         Liquidated and neither contingent nor
     ___________________________________________________________          disputed

                                                                      Basis for the claim: ________________________

                                                 various              Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                  0004                   No
     Last 4 digits of account number          ___ ___ ___ ___            Yes


  23 Nonpriority creditor’s name and mailing address
3.__                                                                                                                             204.60
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.                           $________________________________
           Texas Outhouse
     ___________________________________________________________
           P O Box 4509-1                                                Contingent
                                                                         Unliquidated
           Houston, TX 77210-4509
     ___________________________________________________________         Disputed

     ___________________________________________________________
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred             various
                                              ___________________     Is the claim subject to offset?
                                                   n/a___ ___
                                                                         No
     Last 4 digits of account number          ___ ___                    Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                         Contingent
                                                                         Unliquidated
     ___________________________________________________________         Disputed
     ___________________________________________________________
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________     Is the claim subject to offset?
                                                                         No
     Last 4 digits of account number          ___ ___ ___ ___            Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                         Contingent
                                                                         Unliquidated
     ___________________________________________________________         Disputed
     ___________________________________________________________
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________     Is the claim subject to offset?
                                                                         No
     Last 4 digits of account number          ___ ___ ___ ___            Yes



3.__ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                         Contingent
                                                                         Unliquidated
     ___________________________________________________________         Disputed
     ___________________________________________________________
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________     Is the claim subject to offset?
                                                                         No
     Last 4 digits of account number          ___ ___ ___ ___            Yes




                                                                                                                                                        7
                                                                                                                                                  6 of ___
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                 2203Case  18-34658         Document 40 Filed in TXSB on 09/07/18 Page 19 of 40
 Debtor
                      Looscan Lane LLC
               _______________________________________________________
               Name
                                                                                               18-34660
                                                                       Case number (if known)_____________________________________



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                       Total of claim amounts


                                                                                                                  0
5a. Total claims from Part 1                                                                 5a.       $_____________________________




                                                                                                             426213.57
5b. Total claims from Part 2                                                                 5b.   +   $_____________________________




5c. Total of Parts 1 and 2                                                                                   426213.57
                                                                                             5c.       $_____________________________
   Lines 5a + 5b = 5c.




                                                                                                                                      7     7
   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                 page __ of ___
                      Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 20 of 40

 Fill in this information to identify the case:
                     2203 Looscan Lane LLC
 Debtor name __________________________________________________________________

                                        Southern
 United States Bankruptcy Court for the:______________________ District of      Texas
                                                                               _______
                                                                              (State)
 Case number (If known):      18-34660
                            _________________________                          11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       X
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                          Provide stonework for door frames,                  Alpine Cut Stone
         State what the contract or       ____________________________________             _________________________________________________________
 2.1     lease is for and the nature       flooring, window surrounds, fireplace surrounds     4755 Alpine Rd, Suite 150
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                             Stafford, TX 77477
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or        Interior and exterior painting of house
                                          ____________________________________
                                                                                              Esmeralda Painting Inc
                                                                                           _________________________________________________________
 2.2     lease is for and the nature                                                           8605 Rannie Road
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                               Houston, TX 77080
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Steel Fabricated Awning
                                          ____________________________________                Forja Designs LLC
                                                                                           _________________________________________________________
 2.3     lease is for and the nature                                                          6113 Milwee St, Suite A
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                               Houston, TX 77092
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or        HVAC
                                          ____________________________________               High Performance Home Systems
                                                                                           _________________________________________________________
 2.4
         lease is for and the nature                                                          5438 Guhn Rd
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                              Houston, TX 77040
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________

                                           Outdoor kitchen                                   L Hernandez Construction Inc
         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature                                                          P O Box 2535
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                              Spring, TX 77383
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




                                                                                                                                                         2
Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
                       Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 21 of 40

Debtor
                    2203 Looscan Lane LLC
                _______________________________________________________                                    18-34660
                                                                                       Case number (if known)_____________________________________
                Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease


          State what the contract or
                                           Elevator
                                        ____________________________________        Marchal/Stevenson Elevator Co., Inc
                                                                                 _________________________________________________________
 2._6     lease is for and the nature                                                11050 W Little York, Bldg E
          of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                     Houston, TX 77041
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________



          State what the contract or     Gutters and downspouts
                                        ____________________________________
                                                                                    Matt's Seamless Gutter Service
                                                                                 _________________________________________________________
 2._7     lease is for and the nature                                                6005 Milwee St, Suite 1006K
          of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                     Houston, TX 77092-6266
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________


                                           Roofing                                  Pedco Roofing, Inc
          State what the contract or    ____________________________________     _________________________________________________________
 2._8     lease is for and the nature                                                1426 Brittmoore
          of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                     Houston, TX 77043
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________


          State what the contract or    ____________________________________     _________________________________________________________
 2._      lease is for and the nature
          of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________



          State what the contract or    ____________________________________     _________________________________________________________
 2._      lease is for and the nature
          of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________


          State what the contract or    ____________________________________     _________________________________________________________
 2._      lease is for and the nature
          of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________


          State what the contract or    ____________________________________     _________________________________________________________
 2._      lease is for and the nature
          of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________



                                                                                                                                        2      2
 Official Form 206G                       Schedule G: Executory Contracts and Unexpired Leases                                    page ___ of ___
                      Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 22 of 40
 Fill in this information to identify the case:

                   2203 Looscan Lane LLC
 Debtor name ___________________________________________________

                                        Southern                                Texas
 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                (State)
 Case number (If known):     18-34660
                            _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       _ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

        Charles C Foster                3 Greenway Plaza, Suite 800                                        Communitybank of Texas NA
 2.1     _____________________        ________________________________________________________             _____________________             _ D                   
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G
                                        Houston, TX 77046
                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2      Robert Parker                 2402 Elmen St
         _____________________        ________________________________________________________              Hmaidan & Hmaidan LLC
                                                                                                           _____________________             _ D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G
                                        Houston, TX 77019
                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
                              Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 23 of 40


 Fill in this information to identify the case:

                           2203 Looscan Lane LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _


                                                       Southern
 United States Bankruptcy Court f or the: _______________________ District of ________                          Texas
                                                                                                                 (State)
 Case number (If known):               18-34660
                                      _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                          2778750.00
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                                     95.00
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                    2778845.00
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                   3,426,895.00
                                                                                                                                                                                                $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:                                                                                                                                           0
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                  $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
                                                                                                                                                                                            +      426213.57
                                                                                                                                                                                                $ ________________
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................




4.   Total liabilities...................................................................................................................................................................          3853108.57
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                     Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 24 of 40


Fill in this information to identify the case:

             2203 Looscan Lane LLC
Debtor name __________________________________________________________________

                                       Southern                                Texas
United States Bankruptcy Court for the: ______________________ District of _________
                                                                              (State)
Case number (If known):      18-34660
                          _________________________                                                ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                              Operating a business
           fiscal year to filing date:     From ___________         to     Filing date            Other _______________________    $________________
                                                  MM / DD / YYYY


           For prior year:                 From ___________         to     ___________            Operating a business
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________

           For the year before that:       From ___________         to     ___________            Operating a business
                                                  MM / DD / YYYY            MM / DD / YYYY                                          $________________
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________          $________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
                            Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 25 of 40

Debtor
                           2203 Looscan Lane LLC
                    _______________________________________________________                                          18-34660
                                                                                               Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
               Alpine Cut Stone
             __________________________________________          6/4/18
                                                                ________
                                                                                  20000.27
                                                                               $_________________                Secured debt
             Creditor’s name
               4755 Alpine Rd, Suite 150                                                                         Unsecured loan repayments
             __________________________________________          6/20/18
             Street                                             ________                                             Suppliers or vendors
             __________________________________________                                                          Services
               Stafford, TX 77477
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________
              
     3.2.
               Chase Drywall
             __________________________________________
                                                                 5/23/18
                                                                ________          16013.66
                                                                               $_________________                Secured debt
             Creditor’s name
                1585-B W Sam Houston Pkwy N
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                             Suppliers or vendors
             __________________________________________                                                          Services
               Houston, TX 77043
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
             __________________________________________


     4.2.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
                           Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 26 of 40

Debtor
                       2203 Looscan Lane LLC
                    _______________________________________________________                                          18-34660
                                                                                               Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              Communitybank of Texas NA
             __________________________________________          5/23/18
                                                                ________
                                                                                   56725.38
                                                                               $_________________                    Secured debt
             Creditor’s name
              5999 Delaware Street                                                                               Unsecured loan repayments
             __________________________________________           7/18/18
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
               Beaumont, TX 77706                                7/30/18
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________
              
     3.2.
              Hmaidan & Hmaidan, LLC
             __________________________________________
                                                                 7/19/18
                                                                ________
                                                                                  9009.86
                                                                               $_________________                   Secured debt
             Creditor’s name
               5606 Grand Masterpiece Court
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
               Houston, TX 77041
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
             __________________________________________


     4.2.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
                           Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 27 of 40

                      2203 Looscan Lane LLC
Debtor              _______________________________________________________                                           18-34660
                                                                                               Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              Matt's Seamless Gutter Service
             __________________________________________
                                                                6/20/18
                                                                ________
                                                                                   21000.00
                                                                               $_________________                Secured debt
             Creditor’s name
                6005 Milwee St, Suite 1006K                                                                      Unsecured loan repayments
             __________________________________________
             Street                                             ________                                             Suppliers or vendors
             __________________________________________                                                          Services
                Houston, TX 77092
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________
              
     3.2.

             __________________________________________         ________       $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
             __________________________________________


     4.2.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
                           Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 28 of 40

Debtor
                           2203 Looscan Lane LLC
                    _______________________________________________________
                    Name
                                                                                                                                 18-34660
                                                                                                           Case number (if known)_____________________________________




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
           None
            Creditor’s name and address                             Description of the property                                    Date               Value of property
     5.1.

            __________________________________________              ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code

     5.2.

            __________________________________________              ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
           None
             Creditor’s name and address                              Description of the action creditor took                      Date action was       Amount
                                                                                                                                   taken

             __________________________________________             ___________________________________________                  _______________      $___________
             Creditor’s name
             __________________________________________             ___________________________________________
             Street
             __________________________________________
             __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
             City                          State       ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                                   Nature of case                           Court or agency’s name and address                  Status of case

     7.1.
             _________________________________            ______________________________          __________________________________________              Pending
                                                                                                  Name
                                                                                                                                                          On appeal
                                                                                                  __________________________________________
             Case number                                                                          Street                                                  Concluded
                                                                                                  __________________________________________
             _________________________________                                                    __________________________________________
                                                                                                  City                   State             ZIP Code
              

             Case title                                                                             Court or agency’s name and address
                                                                                                                                                          Pending
     7.2.
             _________________________________            ______________________________          __________________________________________              On appeal
                                                                                                  Name

             Case number                                                                          __________________________________________
                                                                                                                                                          Concluded
                                                                                                  Street
                                                                                                  __________________________________________
             _________________________________
                                                                                                  __________________________________________
                                                                                                  City                           State     ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
                             Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 29 of 40

Debtor
                            2203 Looscan Lane LLC
                     _______________________________________________________                                                    18-34660
                                                                                                       Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
           None
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                  State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
           None
             Recipient’s name and address                           Description of the gifts or contributions                    Dates given           Value


     9.1.
            __________________________________________              ___________________________________________                  _________________   $__________
            Recipient’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________              ___________________________________________                  _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None
             Description of the property lost and how the loss      Amount of payments received for the loss                     Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                             lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).


             ___________________________________________            ___________________________________________                  _________________   $__________
             ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
                         Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 30 of 40

                     2203 Looscan Lane LLC
Debtor            _______________________________________________________                                              18-34660
                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

           __________________________________________
   11.1.                                                      ___________________________________________
                                                                                                                         ______________      $_________
           Address
                                                              ___________________________________________
           __________________________________________
           Street
           __________________________________________
           __________________________________________
           City                        State      ZIP Code


           Email or website address
           _________________________________

           Who made the payment, if not debtor?


           __________________________________________


           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.   __________________________________________         ___________________________________________
                                                                                                                         ______________      $_________
           Address                                            ___________________________________________
           __________________________________________
           Street
           __________________________________________
           __________________________________________
           City                        State      ZIP Code

           Email or website address
           __________________________________________


           Who made the payment, if not debtor?

           __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

          None

           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


           __________________________________________         ___________________________________________                 ______________      $_________

           Trustee                                            ___________________________________________
           __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
                          Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 31 of 40

Debtor
                     2203 Looscan Lane LLC
                   _______________________________________________________                                              18-34660
                                                                                                  Case number (if known)_____________________________________
                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.    __________________________________________           ___________________________________________                ________________    $_________

                                                                 ___________________________________________
            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.    __________________________________________           ___________________________________________

            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                              Dates of occupancy

             2402 Elmen St                                                                                                   8/21/14                4/12/18
   14.1.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
             Houston, TX 77019
            _______________________________________________________________________
            City                                             State         ZIP Code

                                                                                                                            4/13/2018                present
   14.2.      17 Courtlandt Pl
            _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
               Houston, TX 77006-4013
            _______________________________________________________________________
            City                                             State         ZIP Code


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6
                         Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 32 of 40

Debtor
                         2203 Looscan Lane LLC
                  _______________________________________________________                                                  18-34660
                                                                                                    Case number (if known)_____________________________________
                  Name




 Part 8:          Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

      No. Go to Part 9.
      Yes. Fill in the information below.
           Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                              debtor provides                                                             and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.   ________________________________________           ___________________________________________________________                 ____________________
           Facility name
                                                              ____________________________________________________________
           ________________________________________
           Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                              address). If electronic, identify any service provider.
           ________________________________________
                                                                                                                                          Check all that apply:
                                                              ____________________________________________________________
           ________________________________________
           City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                           Electronically
                                                                                                                                          Paper

           Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                              debtor provides                                                             and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.   ________________________________________           ___________________________________________________________                 ____________________
           Facility name
                                                              ___________________________________________________________
           ________________________________________
           Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                              address). If electronic, identify any service provider.
           ________________________________________
                                                                                                                                          Check all that apply:
                                                              ____________________________________________________________
           ________________________________________
           City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:          Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

      No.
      Yes. State the nature of the information collected and retained. ___________________________________________________________________
                  Does the debtor have a privacy policy about that information?
            
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

      No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?
             No. Go to Part 10.
             Yes. Fill in below:
                         Name of plan                                                                           Employer identification number of the plan

                         _______________________________________________________________________                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                     Has the plan been terminated?
                          No
                          Yes



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
                           Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 33 of 40

Debtor
                          2203 Looscan Lane LLC
                   _______________________________________________________                                              18-34660
                                                                                                  Case number (if known)_____________________________________
                   Name




 Part 10:          Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

          None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.    ______________________________________         XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
            Name
                                                                                            Savings
            ______________________________________
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
            ______________________________________
            City                   State      ZIP Code                                      Other______________

   18.2.    ______________________________________         XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
            Name
                                                                                            Savings
            ______________________________________
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
            ______________________________________
            City                   State      ZIP Code                                      Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

          None

             Depository institution name and address       Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

            ______________________________________        __________________________________          __________________________________                 No
            Name
                                                          __________________________________          __________________________________
                                                                                                                                                         Yes
            ______________________________________
            Street                                        __________________________________          __________________________________             
            ______________________________________
            ______________________________________         Address
                                                                                                                                                     
            City                   State      ZIP Code
                                                          ____________________________________

                                                          ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

          None

             Facility name and address                     Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
            ______________________________________        __________________________________          __________________________________
            Name
                                                                                                                                                       Yes
            ______________________________________
                                                          __________________________________          __________________________________              
            Street                                        __________________________________          __________________________________
            ______________________________________
            ______________________________________          Address                                                                                   
            City                   State      ZIP Code
                                                           ________________________________

                                                           _________________________________



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
                          Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 34 of 40

Debtor
                     2203 Looscan Lane LLC
                   _______________________________________________________                                                     18-34660
                                                                                                      Case number (if known)_____________________________________
                   Name




 Part 11:          Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

        None

           Owner’s name and address                             Location of the property                  Description of the property                 Value

                                                                                                                                                      $_______
            ______________________________________              __________________________________        __________________________________
            Name
                                                                __________________________________        __________________________________
            ______________________________________
            Street                                              __________________________________        __________________________________
            ______________________________________
            ______________________________________
            City                  State       ZIP Code




 Part 12:          Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


      No
      Yes. Provide details below.
            Case title                                   Court or agency name and address                 Nature of the case                       Status of case

            _________________________________
                                                         _____________________________________            __________________________________         Pending
            Case number                                  Name
                                                                                                          __________________________________
                                                                                                                                                     On appeal

            _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                     Concluded
                                                                                                          __________________________________
                                                         _____________________________________                                                    
                                                         _____________________________________
                                                         City                    State     ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

      No
      Yes. Provide details below.
           Site name and address                         Governmental unit name and address               Environmental law, if known            Date of notice


            __________________________________           _____________________________________            __________________________________       __________
            Name                                         Name
                                                                                                          __________________________________
            __________________________________           _____________________________________
            Street                                       Street                                           __________________________________
            __________________________________           _____________________________________
            __________________________________           _____________________________________
            City                  State    ZIP Code      City                   State      ZIP Code




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
                         Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 35 of 40
                     2203 Looscan Lane LLC
Debtor            _______________________________________________________
                  Name
                                                                                                                       18-34660
                                                                                                  Case number (if known)_____________________________________




 24. Has the debtor notified any governmental unit of any release of hazardous material?
      No
      Yes. Provide details below.
           Site name and address                     Governmental unit name and address               Environmental law, if known                Date of notice


           __________________________________        ______________________________________           __________________________________           __________
           Name                                      Name
                                                                                                      __________________________________
           __________________________________        ______________________________________
           Street                                    Street                                           __________________________________
           __________________________________        ______________________________________
           __________________________________        ______________________________________
           City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:           Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

          None


           Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
   25.1.   __________________________________         _____________________________________________
           Name                                                                                                Dates business existed
                                                      _____________________________________________
           __________________________________
           Street                                     _____________________________________________
           __________________________________                                                                  From _______         To _______
           __________________________________
           City                  State    ZIP Code




           Business name and address                  Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                       Do not include Social Security number or ITIN.

           __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
           Name
                                                                                                               Dates business existed
                                                      _____________________________________________
           __________________________________
           Street                                     _____________________________________________
           __________________________________                                                                  From _______         To _______
           __________________________________
           City                  State    ZIP Code



           Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

   25.3.   __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
           Name
                                                      _____________________________________________            Dates business existed
           __________________________________
           Street                                     _____________________________________________
           __________________________________
           __________________________________
                                                                                                               From _______         To _______
           City                  State    ZIP Code




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 10
                            Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 36 of 40

                                                                                                                       18-34660
                              2203 Looscan Lane LLC
Debtor            _______________________________________________________                          Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                  Dates of service


               Schmuck, Smith Tees & Co, PC                                                                     From _______
                                                                                                                      7/2/18       To Present
                                                                                                                                      _______
   26a.1.     __________________________________________________________________________________
              Name
                3500 Washington Ave., Suite 200
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
                Houston, TX 77007
              __________________________________________________________________________________
              City                                                State                 ZIP Code


              Name and address                                                                                  Dates of service

                                                                                                                     8/21/14           7/1/18
                  Anna Williams (CD Homes)                                                                      From _______       To _______
   26a.2.     __________________________________________________________________________________
              Name
                     2402 Elmen St
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
               Houston, TX 77019
              __________________________________________________________________________________
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
             None

                     Name and address                                                                           Dates of service

                                                                                                                      10/8/14
                                                                                                                From _______           7/1/18
                                                                                                                                   To _______
         26b.1.       Robert F Parker, Sole Manager
                     ______________________________________________________________________________
                     Name
                       2402 Elmen St
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                         Houston, TX 77019
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code


                     Name and address                                                                           Dates of service

                                                                                                                From _______       To _______
         26b.2.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                     Name and address                                                                           If any books of account and records are
                                                                                                                unavailable, explain why


         26c.1.        Schmuck, Smith Tees & Co PC
                     ______________________________________________________________________________             Records  inception to 7/1/18 have not been
                                                                                                                _________________________________________
                     Name                                                                                       provided by Anna Williams or Robert F
                       3500 Washington Ave., Suite 200                                                          _________________________________________
                     ______________________________________________________________________________             Parker, prior sole manager
                     Street                                                                                     _________________________________________
                     ______________________________________________________________________________
                       Houston, TX 77007
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
                              Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 37 of 40

Debtor                     2203 Looscan Lane LLC
                     _______________________________________________________
                     Name
                                                                                                                         18-34660
                                                                                                    Case number (if known)_____________________________________




                       Name and address                                                                         If any books of account and records are
                                                                                                                unavailable, explain why


           26c.2.      ______________________________________________________________________________           _________________________________________
                       Name
                                                                                                                _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                   _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

               None

                       Name and address


           26d.1.       Communitybank of Texas NA
                       ______________________________________________________________________________
                       Name
                        5999 Delaware Street
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                         Beaumont, TX 77706
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.        Hmaidan & Hmaidan LLC
                       ______________________________________________________________________________
                       Name
                         5606 Grand Masterpiece Court
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                         Houston, TX 77041
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
   No
  Yes. Give the details about the two most recent inventories.


               Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                    inventory    other basis) of each inventory


              ______________________________________________________________________               _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State        ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 12
                         Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 38 of 40

Debtor
                         2203 Looscan Lane LLC
                  _______________________________________________________                                               18-34660
                                                                                               Case number (if known)_____________________________________
                  Name




           Name of the person who supervised the taking of the inventory                      Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

           ______________________________________________________________________             _______       $___________________

           Name and address of the person who has possession of inventory records


   27.2.   ______________________________________________________________________
           Name
           ______________________________________________________________________
           Street
           ______________________________________________________________________
           ______________________________________________________________________
           City                                                    State          ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

           Name                                Address                                               Position and nature of any             % of interest, if any
                                                                                                     interest
            Charles Foster                        3 Greenway Plaza, Suite 800 Houston, TX 77046           Sole member                               100
           ____________________________        _____________________________________________         ____________________________            _______________

           ____________________________        _____________________________________________         ____________________________            _______________

           ____________________________        _____________________________________________         ____________________________            _______________

           ____________________________        _____________________________________________         ____________________________            _______________

           ____________________________        _____________________________________________         ____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
   No
  Yes. Identify below.
           Name                                Address                                                Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
            Robert Parker                        2402 Elmen St, Houston, TX 77019                       Sole manager                                8/15/18
                                                                                                                                          8/21/14To _____
           ____________________________        _____________________________________________          ______________________         From _____

           ____________________________        _____________________________________________          ______________________         From _____ To _____

           ____________________________        _____________________________________________          ______________________         From _____ To _____

           ____________________________        _____________________________________________          ______________________         From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
   No
  Yes. Identify below.
           Name and address of recipient                                             Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.   ______________________________________________________________             _________________________           _____________       ____________
           Name
           ______________________________________________________________
           Street                                                                                                        _____________
           ______________________________________________________________
           ______________________________________________________________                                                _____________
           City                                     State          ZIP Code

           Relationship to debtor                                                                                        _____________

           ______________________________________________________________                                                _____________

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 13
                            Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 39 of 40

                            2203 Looscan Lane LLC
Debtor               _______________________________________________________
                     Name
                                                                                                                         18-34660
                                                                                                    Case number (if known)_____________________________________




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                           State      ZIP Code


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      No
      Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

             ______________________________________________________________                              EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      No
      Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                              EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:              Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       _________________
                                MM / DD / YYYY



            ___________________________________________________________                  Printed name _________________________________________________
             Signature of individual signing on behalf of the debtor

             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
             Yes




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 14
Case 18-34658 Document 40 Filed in TXSB on 09/07/18 Page 40 of 40




   9/7/2018
